829 F.2d 1125
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.Rocky Lee COKER, Plaintiff-Appellant,v.Lamar ALEXANDER, Stephen Norris, Michael Dutton, and MichaelKendrick, Defendants-Appellees.
    No. 87-5294
    United States Court of Appeals, Sixth Circuit.
    September 28, 1987.
    
      ORDER
      Before ENGEL, MERRITT and RYAN, Circuit Judges.
    
    
      1
      This case has been referred to a panel of the court pursuant to Rule 9(a), Rules of the Sixth Circuit.  Upon examination of the record and the briefs, this panel agrees unanimously that oral argument is not needed.  Rule 34(a), Federal Rules of Appellate Procedure.
    
    
      2
      Upon consideration, we affirm the judgment of the district court for the reasons stated in its memorandum opinion and order dated January 27, 1987.  Rule 9(b)(5), Rules of the Sixth Circuit.
    
    